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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  LUBBOCK DIVISION

LTNITED STATES OF AMERICA

V                                                          NO. 5:20-CR-061-H

EMMANUEL QUINONES

                                            PLEA AGREEMENT

       Emmanuel Quinones, the defendant, Sarah Gunter, the defendant's attomey, and

the United States of America (the government) agree as follows:

      1.          Rights of the defendant: The defendant understands that the defendant

has the rights:

                  a.       to plead not guilty;


                  b.       to have   a   trial by j.rry;

                  c.       to have the defendant's guilt proven beyond a reasonable doubt;


                  d.       to confront and cross-examine witnesses and to call witnesses in the
                           defendant's defense; and

                  e.       against compelled self-incrimination.


       2.         Waiver of rights and plea of guilty: The defendant waives      these rights


and pleads guilty to the offense alleged in Count Three of the Indictment, charging a

violation of 18 U.S.C. $ 875(c), that is, Interstate Threatening Communications. The

defendant understands the nature and elements of the crime to which the defendant is




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pleading guilty, and agrees that the factual resume the defendant has signed is true and

will be submitted   as evidence


       3.     Sentence: The maximum penalties the Court can impose include:

              a.        imprisonment for a period not to exceed five years;


              b.        a fine not to exceed $250,000, or twice any pecuniary gain to the
                        defendant or loss to the victim(s);

              c         a term of supervised release of not more than three years, which may
                        be mandatory under the law and will follow any term of
                        imprisonment. If the defendant violates the conditions of supervised
                        release, the defendant could be imprisoned for the entire term   of
                        supervised release;


              d.        a mandatory special assessment    of $100;

              e         restitution to victims or to the community, which is mandatory under
                        the law, and which the defendant agrees may include restitution
                        arising from all relevant conduct, not limited to that arising from the
                        offense of conviction alone;

              f.        costs ofincarceration and supervision; and


              g.        forfeiture of property.

       4.     Immigration consequencesr The defendant recognizes that pleading

guilty may have consequences with respect to the defendant's immigration status if the

defendant is not a citizen of the United States. Under federal law, a broad range    of

crimes are removable offenses. The defendant understands this may include the offense

to which the defendant is pleading guilty, and for purposes of this plea agreement, the

defendant assumes the offense is a removable offense. Removal and other immigration


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consequences are the subject   ofa   separate proceeding, however, and the defendant

understands that no one, including the defendant's attomey or the district court, can

predict to a certainty the effect of the defendant's conviction on the defendant's

immigration status. The defendant nevertheless affirms that the defendant wants to plead

guilty regardless of any immigration consequences that the defendant's plea of guilty

may entail, even if the consequence is the defendant's automatic removal from the United

States.

          5.   Sentencing agreement: Pursuant to Federal Rule of Criminal Procedure

11(c)(l)(C), the parties agree that the appropriate advisory guideline range in this case is

37-46 months imprisonment. The parties understand and agree that this advisory

guideline range likely will be an upward departure from the advisory guideline range

recommended by USSG $ 246.1 and expressly agree to such a departure. If the Court

accepts this plea agreement, this sentencing provision is binding on the Court. Other than

the agreed sentencing range there are no other sentencing limitations, and the Court

remains free to determine the appropriate sentence under the advisory United States

Sentencing Guidelines and 18 U.S.C. $ 3553.

          6.   Rejection of agreement: Pursuant to Federal Rule of Criminal Procedure

l1(c)(5), if the Court rejects this plea agreement, the defendant will be allowed to

withdraw the defendant's guilty plea. If the defendant declines to withdraw the

defendant's guilty plea, the disposition of the case may be less favorable than that

contemplated by the plea agreement.




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         7.     Mandatory special assessment: The defendant agrees to pay to the U.S.

District Clerk the amount of $ 100, in satisfaction of the mandatory special assessment in

this case.

         8.     Defendant's agreement: The defendant shall give complete and truthful

information and/or testimony concerning the defendant's participation in the offense of

conviction. Upon demand, the defendant shall submit        a   personal financial statement

under oath and submit to interviews by the government and the U.S. Probation Office

regarding the defendant's capacity to satisfy any fines or restitution. The defendant

expressly authorizes the United States Attorney's Office to immediately obtain a credit

report on the defendant in order to evaluate the defendant's ability to satisfy any financial

obligation imposed by the Court. The defendant fully understands that any financial

obligation imposed by the Court, including a restitution order and/or the implementation

of a fine, is due and payable immediately. In the event the Court imposes a schedule for

payment of restitution, the defendant agrees that such a schedule represents a minimum

payment obligation and does not preclude the U.S. Attorney's Office from pursuing any

other means by which to satisfy the defendant's full and immediately enforceable

financial obligation. The defendant understands that the defendant has a continuing

obligation to pay in full as soon as possible any financial obligation imposed by the

Court.

         9.     Forfeiture of property: The defendant agrees not to contest, challenge, or

appeal in any way the administrative or judicial (civil or criminal) forfeiture to the United

States   of any property noted as subject to forfeiture pursuant to the plea of guilty,

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specifically, the forfeiture of: a Smith and Wesson, Model M&P 15, .223 caliber, semi-

automatic rifle, serial number TH85241, a Taurus, Model 2417 G2,.40 Smith and Wesson

caliber, semi-automatic pistol, serial number SHN04743, approximately 100 rounds            of

.40 caliber Smith and Wesson ammunition and approximately 700 rounds of .223 caliber

ammunition. The defendant agrees that this property is subject to forfeiture under 21

U.S.C. $ 853(a). The defendant consents to entry of any orders or declarations of

forfeiture regarding such property and waives any requirements (including notice of

forfeiture) set out in l9 U.S.C. $S 1607-1609; l8 U.S.C. $$ 981,983, and 985; the Code

of Federal Regulations; and Rules 11 and 32.2 of the Federal Rules of Criminal

Procedure. The defendant agrees to provide truthful information and evidence necessary

for the government to forfeit such property. The defendant agrees to hold the

govemment, its officers, agents, and employees harmless from any claim whatsoever in

connection with the seizure, forfeifure, storage, or disposal of such property.

       10.    Government's agreement: The government will not bring any additional

charges against the defendant based upon the conduct underlying and related to the

defendant's plea of guilty. The government     will file a Supplement in this case, as is

routinely done in every case, even though there may or may not be any additional terms.

The government   will dismiss, after   sentencing, any remaining charges in the pending

Indictment. This agreement is limited to the United States Attorney's Office for the

Northern District of Texas and does not bind any other federal, state, or local prosecuting

authorities, nor does it prohibit any civil or administrative proceeding against the

defendant or any property.

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         1   l.   Violation of agreement: The defendant understands that if the defendant

violates any provision of this agreement, or if the defendant's guilty plea is vacated or

withdrawn, the government will be free from any obligations of the agreement and free to

prosecute the defendant for all offenses of which it has knowledge. In such event, the

defendant waives any objections based upon delay in prosecution. If the plea is vacated

or withdrawn for any reason other than a finding that it was involuntary, the defendant

also waives objection to the use against the defendant of any information or statements

the defendant has provided to the government, and any resulting leads.

         12.         Voluntary plea: This plea of guilty is freely and voluntarily made and is

not the result of force or threats, or of promises apart from those set forth in this plea

agreement. There have been no guarantees or promises from anyone as to what sentence

the Court     will   impose.

         13.         Waiver of right to appeal or otherwise challenge sentence: The

defendant waives the defendant's rights, conferred by 28 U.S.C. $ 1291 and 18 U.S.C. $

3742,to appeal the conviction, sentence, fine and order of restitution or forfeiture in an

amount to be determined by the district court. The defendant further waives the

defendant's right to contest the conviction, sentence, fine and order of restitution or

forfeiture in any collateral proceeding, including proceedings under 28 U.S.C. $ 2241 and

28 U.S.C. 5 2255. The defendant further waives the defendant's right to seek any future

reduction in the defendant's sentence (e.g., based on a change in sentencing guidelines or

statutory law). The defendant, however, reserves the rights (a) to bring a direct appeal          of

(i)   a sentence exceeding the statutory maximum punishment, or        (ii) an arithmetic error   at


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sentencing, (b) to challenge the voluntariness of the defendant's plea of guilty or this

waiver, and (c) to bring a claim of ineffective assistance of counsel.

       14.     Representation of counsel: The defendant has thoroughly reviewed all

legal and factual aspects of this case with the defendant's attomey and is fully satisfied

with that attomey's legal representation. The defendant has received from the

defendant's attomey explanations satisfactory to the defendant concerning each

paragraph of this plea agreement, each of the defendant's rights affected by this

agreement, and the alternatives available to the defendant other than entering into this

agreement. Because the defendant concedes that the defendant is guilty, and after

conferring with the defendant's attomey, the defendant has concluded that it is in the

defendant's best interest to enter into this plea agreement and all its terms, rather than to

proceed to trial in this case.

       15.     Entirety of agreement: This document is a complete statement of the

parties' agreement and may not be modified unless the modification is in writing and

signed by all parties. This agreement supersedes any and all other promises,

representations, understandings, and agreements that are or were made between the

parties at any time before the guilty plea is entered in court. No promises or

representations have been made by the United States except as set forth in writing in this

plea agreement.




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  AGREED TO AND SIGNED liii,          2J     dAY Of          /or/..            2020

                                           ERIN NEALY COX
                                           I.INITED STATES ATTORNEY




                                           Assistant Llnited States Attorney
                                           West Texas Branch Chief
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        I have read or  had read to me this plea agreernent and have carefully reviewed
  every part of it with my attorney. I fully understand it and voluntarily agree to
                                                                                    it.



                                               oa/o I lZ"zo
  Emmanuel Quinones                        Date
  Defendant

        I   am the defendant's attorney.I have carefully reviewed every part of this plea
                                                                           decision to enter
  agreement with the defendant. To my knowledge and belief, my client's
  into this plea agreement is an informed and voluntary  one'



                                                  q/a/aa
  Attorrey for Defendant




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